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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is MOOT.



  Dated: July 31, 2023
                                                               ________________________________________
                                                                          SHAD M. ROBINSON
                                                                  UNITED STATES BANKRUPTCY JUDGE
  ____________________________________________________________


                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION




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      In re:                                              §
                                                          §        Case No. 23-10164-smr
      ASTRALABS, INC.,                                    §
                                                          §        Chapter 7
                Debtor.                                   §
                                         O
       ORDER SUSTAINING TRUSTEE’S OBJECTION TO CLAIM OF SHAILA PATEL
                             Proof of Claim No. 166

               Upon the Objection to Claim of Shaila Patel (the “Objection”) 1 filed by Randolph N.
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  Osherow, not individually but in his capacity as the duly appointed chapter 7 trustee (in such

  capacity, the “Trustee”), for and on behalf of ASTRALABS, Inc. (the “Debtor”) and its

  bankruptcy Estate established under the above-captioned chapter 7 case (“Bankruptcy Case”) for
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  entry of an order disallowing and expunging proof of claim number 166 filed by Shaila Patel,

  including but not limited to for purposes of finding that Shaila Patel is not eligible to request nor

  vote in any trustee election held pursuant to 11 U.S.C. § 702(a) in this case, as more fully set forth




  1
        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Objection.

  ORDER SUSTAINING TRUSTEE’S OBJECTION TO CLAIM                                                                 Page 1
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  in the Objection; and after due deliberation and consideration of the record before it, and for the

  reasons set forth in the Objection, it is HEREBY ORDERED THAT:

          1.      The Objection is sustained as set forth herein.

          2.      The Patel Claim is entirely and finally DISALLOWED for all purposes, but without

  prejudice to any right Ms. Patel may have to assert equity interests in this case, and as to which

  the Trustee’s and Estate’s rights are fully reserved.

          3.      With respect to any potential trustee election held pursuant to 11 U.S.C. § 702 in

  this case, Shaila Patel is not eligible to request same or vote her claim, including but not limited to

  the claim listed on the Debtor’s amended Schedules and her respective filed proof of claim.

          4.      Entry of this Order is without prejudice to the Trustee’s right to assert further




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  objections to any other claims or interests asserted by Shaila Patel, on any grounds whatsoever, at

  a later date.
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  Order respectfully submitted by:
  Jay H. Ong
  Texas Bar No. 24028756
  Thanhan Nguyen
  Texas Bar No. 24118479
  MUNSCH HARDT KOPF & HARR, P.C.
  1717 West 6th Street, Suite 250
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  TRUSTEE’S OMNIBUS LIMITED OBJECTION TO CLAIMS FOR PURPOSES OF
  DISPUTING ELIGIBILITY TO VOTE IN TRUSTEE ELECTION                        Page 3
